SETTLEMENT AGREEMENT

The Navajo Nation, a federally recognized Indian Tribe; Joyce Nez, an individual;
Denise Johnson, an individual; Ashley Atene, Sr., an individual; Irene Roy, an individual;
Bonnie Tsosie, an individual; and Dale Smith, an individual (collectively, the
“Plaintiffs”), enter into this Settlement Agreement (the “Agreement”) with Coconino
County Recorder Patty Hansen, Coconino County Elections Director Thad Hall, the
Coconino County Board of Supervisors, and the Coconino County Board of Supervisors
Chairman Art Babbott (collectively, the “Coconino County Defendants”).

RECITALS

A. Plaintiff, the Navajo Nation, is a federally recognized Indian Tribe with a
government-to-government relationship with the United States. The Navajo Reservation
was established by the Treaty of 1868 and was thereafter expanded by successive
executive orders. The Reservation consists of approximately 27,000 square miles of
sovereign territory. The Reservation is located in Apache, Navajo, and Coconino counties
in Arizona, and 8 counties in Utah and New Mexico. According to the 2010 census, the
population of the Reservation is 173,667 of whom 101,835 live on the Arizona portion of
the Reservation. The Navajo Nation has a voting age population of 67,252 living within
the Arizona portion of the Reservation.

B. Plaintiffs, Joyce Nez, Ashley Atene, Sr., Dale Smith, Denise Johnson, Irene

Roy, and Bonnie Tsosie, are enrolled members of the Navajo Nation.

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C. Coconino County Defendant Patty Hansen is the Recorder for Coconino
County and may establish early voting locations in Coconino County pursuant to A.R.S.
§ 16-542(A).

D. Coconino County Defendant Thad Hall is the Elections Director for
Coconino County and is in charge of conducting elections in Coconino County.

E. Coconino County Defendant, the Coconino County Board of Supervisors,
is the duly elected governing body of Coconino County, a body politic, organized and
existing under the laws of the State of Arizona. The Board of Supervisors is charged with
the overall responsibility of the county election process, except for those functions
designated by law to other elected officials.

F. Coconino County Defendant Art Babbott was the Chairman of the
Coconino County Board of Supervisors at all times relevant to this Agreement.

G. On November 20, 2018, the Plaintiffs filed a lawsuit in the United States
District Court, District of Arizona (“Court”), against the Coconino County Defendants
and other defendants alleging that certain Arizona electoral practices violated the federal
and state constitutions as well as the Voting Rights Act. That lawsuit is known as The
Navajo Nation, et al., v. Hobbs, et al., No. CV-18-08329-PCT-DWL (D. Ariz.) (the
“Litigation”). The Plaintiffs filed an amended complaint on December 11, 2018.

H. The Plaintiffs filed this action to enforce to enforce the statutory guarantee
of language assistance for limited-English proficient (LEP) Navajo voting-age citizens
under Sections 2, 203, and 4(f)(4) of the Voting Rights Act, 52 U.S.C. § 10301 et seq.,
and the voting guarantees of the Fourteenth Amendment to the United States

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Constitution; to improve access to voter registration and early voting sites under Section
2 of the Voting Rights Act and the Fourteenth Amendment to the United States
Constitution; to enforce the guarantees of due process and equal protection under the
First and Fourteenth Amendments to the United States Constitution in order to allow
early voters to cure missing signatures; and to obtain injunctive and declaratory relief.
The Plaintiffs also claim that the alleged violations violate Article 2, Section 21 of the
Arizona Constitution.

I. Coconino County is a covered jurisdiction under Section 203 of the Voting
Rights Act for the Navajo language on the Navajo Reservation. Coconino County has
not bailed out of from coverage under Section 203(d) of the Voting Rights Act, 52 U.S.C.
§ 10503(d).

J. On the Navajo Reservation, Navajo voters had limited access to in-person
voter registration opportunities prior to the 2018 General Election and limited access to
in-person early voting sites during the 2018 General Election as compared to off-
reservation voters.

K. The Coconino County Defendants deny that their prior practices,
challenged in the Litigation, were unlawful.

L. The Coconino County Defendants desire to take actions to help remedy the
concerns raised in the Litigation and these actions are intended to help Navajo Nation
members effectively cast ballots in upcoming elections.

M. The Plaintiffs and the Coconino County Defendants (together, the
“Parties”) enter into this Agreement to resolve the Litigation. This resolution will allow

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the Parties to avoid the expense of additional litigation and receive certainty as to the
resolution of their dispute.

N. WHEREFORE, for this and other valuable consideration, including the
mutual promises and obligations of this Agreement, the Parties agree and covenant to the

Terms and Conditions specified below.

DEFINITIONS

1. “Early Voting” means the process as laid out in A.R.S. § 16-541 et seq.,
which allows the establishment of on-site early voting locations under A.R.S. § 16-
542(A).

2. “Elections Procedures Manual” means the manual the Secretary develops in
consultation with county elections officials, which contains rules related to voter
registration, voting, and the tabulation and storing of ballots. The Elections Procedures
Manual has the force of law and is binding on county elections officials. See A.R.S. §16-
452.

3, “General Election” shall mean the word as described in A.R.S. § 16-211,
which states that “On the first Tuesday after the first Monday in November of every
even-numbered year, a general election shall be held for the election of representatives in
Congress, members of the legislature, and state, county and precinct officers whose terms
expire at the end of the year in which the election is being held or in the following year.”

4. “Primary Election” shall mean the word as described in A.R.S. § 16-201,
which states that “On the tenth Tuesday prior to a general or special election at which
candidates for public office are to be elected, a primary election shall be held.”

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5. “Presidential Preference” shall mean the word as described in A.R.S. § 16-
241 which provides that such election shall be held “each year in which the President of
the United States is elected to give qualified electors the opportunity to express their
preference for the presidential candidate of the political party indicated as their

preference.”

TERMS AND CONDITIONS

A. In-Person Early Voting Polling Places

The Coconino County Defendants shall:

1. Provide Early Voting for one full day per week for three weeks prior to the
General Election by opening polling places at the following locations on the Navajo
Reservation, including during the lunch hours:

a. Leupp, Arizona;
b. Inscription House, Arizona; and
c. Cameron, Arizona.

2. Provide Early Voting on Saturdays prior to the General Election at:

a. Tuba City, Arizona, from 8am to noon (Daylight Savings Time); and
b. Flagstaff, Arizona (Mall location), from 10am to 5pm (Arizona
time).

3, Consistent with their prior practice, continue to provide Early Voting
during the entire Early Voting Period, including during the lunch period, in Tuba City,

Arizona, and in Flagstaff, Arizona at the Flagstaff Mall location.

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The Navajo Nation shall assist Coconino County in securing early voting polling
place locations on the Navajo Nation Reservation. The Navajo Nation shall designate to
Defendants a point of contact for such assistance. Plaintiffs understand that Defendants
have a duty to ensure the accessibility of polling places, including through the use of
temporary accessibility measures. Additionally, Plaintiffs understand that Defendants
have a duty to provide notice to the Department of Justice, and obtain approval, of any
new polling places locations. If the parties are unable to find an acceptable location for
early voting in any of the communities named above, the failure to provide early voting
in that community will not be considered a violation of this Agreement.

The parties further agree they may reconsider the communities listed above as
additional early voting locations if such locations are ineffective or other communities
would be more accessible to residents of the Nation.

B. Voter Registration Plan

The Coconino County Defendants shall develop a voter registration plan for each
election cycle to identify events and locations that maximize voter registration efforts.
Voter registration locations to be considered include flea markets, Chapter Houses, senior
centers, food distribution sites, and at community events. The County Defendants shall
provide a copy of this Plan to the Navajo Nation who shall have an opportunity to
comment and provide feedback prior to implementation. The lack of any response from

the Nation shall not delay implementation of the Plan.

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C. Radio Advertisements

For each Presidential Preference, Primary Election, and General Election, the
Coconino County Defendants shall:

1. Consistent with their prior practice, continue to provide timely radio
advertisements in the Navajo language on KTNN Radio (Window Rock), KAFF Radio
(Flagstaff), and KPGE Radio (Page), which will inform voters about the following topics:

a. Voter registration locations and deadlines;

b. Directions to look for early ballots in the mail;
c. Deadlines to mail in early ballots; and

d. Early voting locations and hours.

2. Provide timely one-minute radio advertisements in the Navajo language on
KTNN Radio, KAFF Radio, and KPGE Radio, which will inform voters about the
following topics:

a. The Special Election Board can assist tribal members with voting at
their homes;

b. Where to obtain complete voting instructions; and

c. Reminding voters to sign their early ballot affidavit.

D. Information Flyers

Consistent with their prior practice, the Coconino County Defendants shall
continue to provide election information flyers regarding voting registration information
and election deadlines to senior centers and Chapter Houses serving voters who live on
the Navajo Reservation within Coconino County.

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E. Navajo Interpreters

Consistent with its prior practice, Coconino County will continue to provide
Navajo translators at each polling location located on the Navajo Nation Reservation and
will continue to prepare an interpreter’s guide for Navajo language interpreters.
Coconino County will use a trained Navajo interpreter to train poll workers located on
the Navajo Nation Reservation in order to provide effective language assistance in the
Navajo language to Navajo voters.

F. Curing Signatures

As required by Arizona law, the Coconino County Defendants will comply with
the Elections Procedures Manual developed by the Secretary of State. If the Election
Procedures Manual is silent on allowing a voter to cure a ballot with an unsigned ballot
affidavit, the Coconino County Defendants shall treat unsigned ballots in the same
manner it treats signed ballots with mismatched signatures, by providing to the voter a
notice of ballot deficiency and an opportunity to correct that deficiency.

G. Dismissal of the Litigation

The Parties shall request that the Court dismiss this case with prejudice. However,
it is understood and agreed that this Agreement is expressly conditioned upon the Court
retaining jurisdiction to enforce the terms of this Agreement as described in Section I,
which shall also be incorporated into the Court’s Order of Dismissal.

H. Jurisdiction. The Parties agree that this Agreement concerns matters
related to voting and elections, and so is governed by the laws of the United States as
well as the state of Arizona. The Parties further agree that the exclusive jurisdiction and.

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venue for any dispute relating to this Agreement is the United States District Court for
the District of Arizona. For purposes of construing this Agreement, this Agreement shall
be deemed to have been drafted by all Parties to this Agreement and shall not, therefore,
be construed against any Party for that reason in any subsequent dispute.

I. Retention of Jurisdiction

The Court shall retain jurisdiction over Sections A and F of this Agreement and
shall enter such further relief as may be necessary for the effectuation of the terms
contained in those Sections of this Agreement.

J. Successors and Assigns

This Agreement will be binding upon and inure to the benefit of the Parties and
their respective heirs, representatives, successors, and assigns. The Coconino County
Defendants will continue to be bound by all terms of this Agreement during the term of
this Agreement, without regard to the individuals holding the different offices of
Coconino County.

K. Intended Beneficiaries of the Agreement

This Agreement is solely intended to be for the benefit of the Parties, their
successors, and assigns. The Parties do not release any claims against any other person
or entity. Each party and signatory to this Agreement represents that it freely and
voluntarily enters in to this Agreement without any degree of duress or compulsion.

L. Complete Agreement

The Agreement constitutes the complete agreement between the Parties. This
Agreement may not be amended except by written consent of the Parties.

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M. Authority to Execute Agreement

The undersigned represent and warrant that they are fully authorized to execute
this Agreement on behalf of the persons and entities indicated below.

N. Counterpart Execution

The Agreement may be executed in counterparts, each of which constitutes an
original and all of which constitute one and the same Agreement.

O. Disclosure

Both Parties consent to the other’s disclosure of this Agreement, and information
about this Agreement, to the public.

P. Severability

If any terms of the Agreement is to any extent invalid for any reason, including
illegality or conflict with applicable law or regulation, or is otherwise unenforceable,
then: such particular term shall be excluded to the extent of such invalidity or
unenforceability; all other terms of the Agreement shall remain in full force and effect;
and, to the extent permitted and possible, the invalid or unenforceable term shall be
deemed replaced by a term that is valid and enforceable and that comes closest to
expressing the intention of such invalid or unenforceable term.

P, Attorneys’ Fees and Costs.

Each Party shall bear their own attorneys’ fees and costs.

Q. Effective Date.

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The Agreement is effective on the date of signature of the last signatory to the
Agreement, and supersedes all prior versions of the Agreement. Facsimiles of signatures
shall constitute acceptable, binding signatures for purposes of the Agreement.

R. Duration of the Agreement

The duties and obligations under this Agreement shall be in place through the
2022 General Election, and this Agreement shall expire on December 31, 2022.

* * * TWO SIGNATURE PAGES FOLLOW * * *

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For the Navajo Nation:

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Attorney General Doreen McPaul Date
Assistant Attorney General Paul Spruhan

Navajo Nation Dept. of Justice

P.O. Drawer 2010

Window Rock, Arizona 86515

For the Individual Plaintiffs
Joyce Nez, Denise Johnson,
Ashley Atene, Sr., Irene Roy,
Bonnie Tsosie, and Dale Smith:

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Date

4250 N. Drinkwater Blvd., 4th Floor
Scottsdale, AZ 85251-3693

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FOR THE COCONINO COUNTY RECORDER

Lit. Poorman I-I-19

Patty Hay sen Date
Coconino County Recorder

110 East Cherry Avenue

Flagstaff, AZ 86001

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Thad Hall
Coconino County Elections Director
110 East Cherry Avenue
Flagstaff, AZ 86001

FOR THE COCONINO COUNTY BOARD OF SUPERVISORS

Qa tyNo— 7) jo] 14

/ Date

FOR THE CHAIRMAN OF THE COCONINO COUNTY BOARD OF
SUPERVISORS

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ATTEST:

f cs
Lindsay Daley, Clerk of the Board
Coconino County

219 E. Cherry Avenue
Flagstaff, AZ 86001

APPROVED TO FORM:

Rose Winkeler, Deputy County Attorney
Coconino County

110 E. Cherry Avenue

Flagstaff, AZ 86001

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Date

Date

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